      Case 3:21-cv-00108-JWD-SDJ             Document 138-3         12/19/24    Page 1 of 2




                                UNITED STATES DISTRICT
                               COURT MIDDLE DISTRICT OF
                                      LOUISIANA

 HUMPHREY, et al.,



                Plaintiffs,                               Civil Action No. 3:20-cv-0233



 v.

 LEBLANC,                                                 Judge John W. deGravelles

                Defendant.                                Magistrate Judge Scott D. Johnson

 GIROIR, et al.,

                                                          Civil Action No. 3:21-cv-108

                Plaintiffs,



 v.                                                       Judge John W. deGravelles

 LEBLANC, et al.,                                         Magistrate Judge Scott D. Johnson

                Defendants.


                                     [PROPOSED] ORDER


        Considering the foregoing Motion to Substitute Pleading (In Order to Correct

Deficiency),

IT IS ORDERED that the Motion is GRANTED and the Joint Status Report (Rec. Doc. 137) is

substituted with the Joint Status Report attached to Plaintiffs’ Motion.
Case 3:21-cv-00108-JWD-SDJ         Document 138-3       12/19/24     Page 2 of 2




 Signed in Baton Rouge, Louisiana, this _____ day of __________, 2024.




                                             _________________________________
                                                  JUDGE JOHN W. DeGRAVELLES
                                          MAGISTRATE JUDGE SCOTT D. JOHNSON
                                               UNITED STATES DISTRICT COURT
                                                   MIDDLE DISTRICT OF LOUISIANA
